Case: 1:17-cv-06260 Document #: 638 Filed: 10/31/18 Page 1 of 1 PageID #:4168

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

State Of Illinois, et al.
                                 Plaintiff,
v.                                                   Case No.: 1:17−cv−06260
                                                     Honorable Robert M. Dow Jr.
City Of Chicago
                                 Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 31, 2018:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Joint motion to
substitute written comments containing non−public information [631] noticed up for
11/1/2018 is reset to 11/5/2018 at 10:30 a.m. Notice of motion date of 11/1/2018 is
stricken and no appearances are necessary on that date. Mailed notice(cdh, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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